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                      UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA,
                            ORLANDO DIVISION

VINCENT TRAPENARD,               )
                                 )
      Plaintiff,                 )
                                 )
                                                  6:22-cv-660
v.                               )      Case No: _________________
                                 )
NATHAN CLESTER,                  )      Judge: ___________________
                                 )
NPU FLOORING LLC,                )
                                 )
NOAH CLESTER,                    )
                                 )
and                              )
                                 )
CLAUDIA TELLES,                  )
                                )
     Defendants.                )
________________________________________________________________________
_
                   COMPLAINT AT LAW FOR MONETARY DAMAGES
                          AND INJUNCTIVE RELIF

      The Plaintiff, VINCENT TRAPENARD, by and through counsel, KERSHER

SLEDZIEWSKI LAW, LLC, and COLE SADKIN (Pro Hac Vice admission pending)

complains of Defendants, NATHAN CLESTER, NPU FLOORING LLC, NOAH

CLESTER, and CLAUDIA TELLES, and in support thereof, states the following.
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                          NATURE OF THE ACTION

      1.    Vincent Trapenard (herein referred to as “Trapenard” or “Investor”)

was contacted by Nathan Clester (herein referred to as “Clester” or “Scam Artist”)

through an online platform to solicit an investment in a bitcoin currency called

“Ethereum” with an alleged group of investors.

      2.    Upon transferring digital currency known as Ethereum to Clester,

Clester converted the funds for his personal use and did not use the funds for their

intended purpose. When Trapenard discovered this, Clester refused to return the

Ethereum and ceased communications with Trapenard.

      3.    Trapenard is entitled to compensatory damages in the form of

monetary relief as compensation for the fraud and significant losses resulting from

this scam. In addition, in an effort to ensure the public is protected from Scam

Artist injuring other similarly situated investors, Trapenard is entitled to

injunctive relief in the form of freezing of accounts and providing certain

accounting in order to assist with pending civil and criminal investigation.

      4.    Scam Artist proffers that the investment was either lost, stolen, or

somehow mishandled and is no longer available for return to Trapenard or invest

on behalf of Trapenard. Upon information and belief, Scam Artist has duplicated
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this scam on other domestic and foreign investors. In addition, Scam Artist has

implicated family and friends in this scam by utilizing mistaken or forged

identities.

       5.     As a result of Scam Artist’s bad faith and unfair and unlawful

conduct, Trapenard (and presumably many others) have been prevented

from accessing his supposedly protected assets.             Trapenard seeks

compensatory, exemplary, and punitive damages where appropriate and

allowed, and an injunction enjoining the continuation of Scam Artist’s

unlawful conduct.

                                  PARTIES

       6.     Plaintiff or “Investor”, Vincent Trapenard, is a French national.

       7.     Defendant Scam Artist, Nathan Clester, is a Florida resident residing

in Winter Park, Florida.

       8.     Defendant NPU Flooring LLC, a Florida limited liability company,

has a principal business office located at 100 Windsong Court, Lake Mary, FL

32746. NPU Flooring, LLC is jointly owned by Nathan Clester and is an alter-ego

utilized to convert investment funds. NPU Flooring LLC has a registered agent of

Legalinc Corporate Services, Inc., with a registered agent address of 5237
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Summerlin Commons, Suite 400, Fort Meyers, FL 33907.

      9.     Defendant Noah Clester is a Florida resident residing in Lake Mary,

Florida. Noah Clester is the brother of Scam Artist and is an alter-ego utilized to

convert investment funds.

      10.    Defendant Claudia Telles is a Florida resident residing in Orlando,

Florida. Claudia Telles is the girlfriend of Scam Artist and is an alter-ego utilized

to convert investment funds.

                           JURISDICTION AND VENUE

      11.    Venue is proper pursuant to 28 U.S.C. § 1391 in that: (a) Scam Artist

resides in this judicial district, (b) a substantial part of the events giving rise to the

claims set forth herein occurred in this judicial district, and (c) a substantial part

of property that is the subject of the action is situated in this judicial district.

      12.    This Court has personal jurisdiction over Scam Artist because: (a)

Scam Artist resides within this jurisdiction, and (b) Scam Artist’s breaches and

tortious activity occurred within this jurisdiction.

              FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

      13.    Bitcoin is a virtual currency that may be traded on online exchanges

for conventional currencies, including the US dollar, or used to purchase goods
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and services online. Bitcoin has no single administrator or central authority or

repository.

      14.     Scam Artist, Nathan Clester, formed NPU Flooring LLC as a flooring

installation company, and, upon information and belief, his sole profession is

providing flooring contractor services to residential properties in and around

Florida.

      15.     On or about October 23, 2021, Scam Artist began corresponding with

the Bitcoin investor community on Discord. Discord is an online community used

primarily for Bitcoin and other interested parties primarily because of its

allowance for autonomy and limitations on recording of conversations.

      16.     Scam Artist built a reputation within the Bitcoin community for his

knowledge regarding similar investments.

      Introduction of Scam Artist to Investor

      17.     On or about October 23, 2021, Scam Artist approached Investor

regarding his interest in purchasing a non-fungible token (“NFT”) with an alleged

group of investors using a cryptocurrency known as Ethereum.

      18.     From October 23, 2021 through October 28, 2021, during the initial

conversations between Investor and Scam Artist, he presented himself as a
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businessman with knowledge and connections with the cryptocurrency and NFT

environment who worked with other investors to collect and trade NFTs.

      19.     In the course of the conversation between Investor and Scam Artist,

he misrepresented where he attended business school, his work as an engineer, his

relationship with his fiancé, and the house he had recently purchased and was

remodeling.

      20.     Scam Artist used personal details such as playing lacrosse in Ithaca,

and attending business school at Tuck to establish a personal bond, and induce

trust and familiarity with Investor.

      21.     On or about October 24, 2021, Investor expressed interest to Scam

Artist in joining a group purchase of an NFT by “Bullmarket Girlfriend.” Scam

Artist proceeded to explain he was working with a group of five (5) similarly-

situated investors to make the purchase and they would all be contributing

cryptocurrency to a third-party wallet that would then be used to make the NFT

Purchase.

      22.     The cryptocurrency Investor was exchanging with Scam Artist was

Ethereum, and each member of the alleged group would be contributing forty-one

and one tenth (41.10) Ethereum towards the purchase of the NFT.
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      23.   During the Discord conversation with Scam Artist, other alleged

members of the group were described to the Plaintiff including an alleged partner

“Feng,” who would handle the transfer of the wallet containing the

cryptocurrency to the seller of the NFT.

      Scam Artist Induces Investor Transfer

      24.   On or about October 25, 2021, Scam Artist proceeded to make a series

of communications regarding the timeline of the purchase and transfers of funds

to pressure Investor into making the transfers without adequate time to

independently review the deal.

      25.   Starting on or about October 26, 2021, Scam Artist intentionally

changed the timelines for depositing the coins from seventy-two (72) hours to

forty-eight (48) hours to create a false sense of urgency to making the Ethereum

transfers. When Investor questioned the changing timelines, Scam Artist insisted

it was a minor mistake on his part and Investor was being paranoid.

      26.   In addition to pressuring the Investor by changing timelines for the

cryptocurrency transfers and expected purchase date of the NFT, Scam Artist

answered questions regarding the purchase vaguely or altogether refused to

answer the Investor’s questions.
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      27.    When Investor questioned promises Scam Artist made regarding the

safety of the third-party wallet, and contradictory statements Scam Artist made

regarding liquidity, Scam Artist would deflect the questions or tell Investor he was

being paranoid, and the important thing was to make the transfers so that the NFT

purchase could move forward.

      28.    Scam Artist further intimated that if Investor did not make the

transfers the investment partners would all lose their funds as a result of Investor’s

decision to withdraw from the deal.
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      Investor Provides Wire Transfer to Scam Artist

      29.   Between October 25 and October 28, 2021, Investor wired two (2)

separate Ethereum transactions to Scam Artist worth an estimated combined one

hundred and sixty-five thousand dollars ($165,000).

      30.   On or about October 28, 2021, after the second transfer to Scam Artist,

Investor attempted to verify the purchase of the NFT by reviewing the metadata.

Upon becoming aware that the purchase had not been made as represented,

Investor attempted to contact Scam Artist.

      31.   Investor demanded the return of his funds since the purchase was not

made, at which time the Scam Artist ceased communications after taunting

Investor.

      Involvement of Other Scam Artists

      32.   NPU Flooring LLC was formed in Florida and allegedly provides

residential roofing contractor services. Scam Artist is the principal owner. Upon

information and belief, NPU Flooring LLC is a shell company and alter-ego

utilized by Scam Artist to convert investor-fraud proceeds.

      33.   Noah Clester is the brother of Scam Artist. Upon information and

belief, Noach Clester is an alter-ego utilized by Scam Artist to convert investor-
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fraud proceeds.

      34.   Claudia Telles is the girlfriend of Scam Artist. Upon information and

belief, Claudia Telles is an alter-ego utilized by Scam Artist to convert investor-

fraud proceeds.
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      Damages Caused to Investor

      35.       After a lengthy and contentious argument regarding the return of the

transferred funds, Scam Artist ceased communications with Investor and refused

to respond to further requests for the return of the funds.

      36.       This investment fraud has impeded Investor’s ability to move

forward with other cryptocurrency and Bitcoin investments, within the limited

window of viability and profitability. Upon information and belief, Scam Artist

continues to communicate with potential investors on Discord in an effort to

duplicate his efforts.

      37.       Upon information and belief, Scam Artist actively and fraudulently

converts investment proceeds to other accounts, possibly within his family and

friends, in order to perpetuate the allegation that he somehow lost the funds or

was the victim of a separate conversion or conspiracy.

                                       COUNT I
                                      Conversion

      38.       Plaintiff re-incorporates and realleges paragraphs 1-37 as if full set

forth herein.

      39.       Plaintiff transferred valuable cryptocurrency to Scam Artist.
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      40.       Scam Artist knowingly and intentionally exercised control over the

funds belonging to Plaintiff, denying Plaintiff access to his funds.

      41.       Because of the unlawful restraint and retention of funds by Scam

Artist, the rights of Plaintiff have been interfered with, and their funds are not

accessible and presumed stolen. Scam Artist has converted those funds for his own

personal use and distribution.

      42.       Scam Artist has denied Plaintiff the use and control of his own

property.

      43.       As a result of the actions of Scam Artist, Plaintiff has been damaged

in an amount to be proven at trial.

                                         COUNT II
                                      Unjust Enrichment

      44.       Plaintiff re-incorporates and realleges paragraphs 1-37 as if fully set

forth herein.

      45.       Plaintiff conferred a benefit upon Scam Artist by transferring valuable

cryptocurrency into Scam Artist’s care, who did not use the funds to purchase an

NFT as promised.

      46.       By Scam Artist’s unfair, misleading, and unlawful conduct alleged
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herein, Scam Artist has unjustly received and retained benefits at the expense of

Plaintiff, including the funds transferred by Plaintiff.

      47.    Under principles of equity and good conscience, Scam Artist should

not be permitted to retain valuable funds belonging to Plaintiff that Scam Artist

unjustly received as a result of Scam Artist’s unfair, misleading, and unlawful

conduct alleged herein without providing Plaintiff compensation.

      48.    Plaintiff is entitled to restitution of, disgorgement of, compensation

for the funds transferred to Scam Artist, and for any such other relief that this

Court deems proper, as a result Scam Artist’s unfair, misleading, and unlawful

conduct.
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                                        COUNT III
                                     Common Law Fraud

      49.       Plaintiff re-incorporates and realleges paragraphs 1-37 as if fully set

forth herein.

      50.       Scam Artist made false statements of material fact regarding his

credentials and connections within the NFT investment community and regarding

his personal accreditations as a businessman and investor.

      51.       Scam Artist made false statements of material fact that led Plaintiff to

believe that other investors including Scam Artist were contributing funds

towards the purchase of an NFT.

      52.       At all times, Scam Artist was aware he was not an investor in the NFT

community, and no other investors were contributing or involved in the purchase

of the NFT.

      53.       Scam Artist used these false statements in order to induce Plaintiff to

make transfers of cryptocurrency to the control of Scam Artist.

      54.       Plaintiff relied upon the statements and relationship built between

himself and Scam Artist to make the transfers to Scam Artist in exchange for the

purchase of the NFT.
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      55.    As a result of Plaintiff’s reliance on the false and misleading

statements of Scam Artist, Plaintiff has faced damages of an estimated one

hundred and sixty-five thousand dollars ($165,000), in addition to attorneys’ fees

and costs.
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                                         COUNT IV
                            Preliminary and Permanent Injunction

      28.       Plaintiff re-incorporates and realleges paragraphs 1-37 as if fully set

forth herein.

      29.       Plaintiff will suffer immediate and irreparable harm if Scam Artist

does not return the funds transferred to him by Plaintiff.

      30.       The value of the cryptocurrency Ethereum continues to fluctuate with

the market, and by refusing to release the funds transferred, Plaintiff is denied the

use of the Ethereum.

      31.       Plaintiff is in need of injunctive relief to return Plaintiff to status quo

ante and allow Plaintiff to access and regain control over his funds as he has

demanded, without the interference of Scam Artist.

      32.       Plaintiff has not adequate remedy of law that would serve to

immediately compel Scam Artist to honor his obligations and honor Plaintiff’s

demands for the return of his funds.

      33.       Plaintiff has a substantial likelihood of success on the merits of his

claims. The funds he transferred to Scam Artist is inaccessible due to Scam Artist’s

mismanagement and fraud, and Plaintiff will not have access to his funds unless
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Scam Artist is compelled to provide proper access and satisfy Plaintiff’s demand

for the return of his funds.

      34.       Moreover, Scam Artist admitted to Plaintiff through their online

communications that Scam Artist had defrauded Plaintiff.

      35.       Returning the party to the status quo ante would not prejudice Scam

Artist, as Scam Artist would merely be compelled to return the funds transferred

to him by Plaintiff.

      36.       Entering a temporary and permanent injunction would serve the

public interest by preserving the international use of cryptocurrency in trading,

and promoting the objectives of FinCEN (a division of the U.S. Department of

Treasury).

      37.       Plaintiff has a clear legal right to the relief sought herein.

                                          COUNT V
                             FTC Act, 15 U.S.C. § 45 (a) Violations

      38.       Plaintiff re-incorporates and realleges paragraphs 1-37 as if fully set

forth herein.

      39.       Section 5(a) of the FTC Act, 15 U.S.C. § 45(a) (the “Act”), prohibits

“unfair or deceptive acts or practices in or affecting commerce”.
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      40.       Misrepresentations or deceptive omissions of material fact constitute

deceptive acts or practices as prohibited by said Act.

      41.       In numerous conversations with Plaintiff, Scam Artist misrepresented

his identity as an investor and businessman.

      42.       In addition to his personal misrepresentations, Scam Artist

additionally misrepresented facts surrounding the purchase of an NFT with a

group of similarly-situated investors that were fabricated and did not exist.

      43.       These fabrications were presented to Plaintiff in order to induce his

transfer of funds to Scam Artist.

      44.       As a result of the fabrications by Scam Artist, Plaintiff made a transfer

of funds to Scam Artist.

      45.       Therefore, Scam Artist’s representations as set forth in this Complaint

are false and misleading and constitute deceptive acts or practices in violation of

the Act.

                                      COUNT VI
            Violations of Section 10b of the Securities Exchange Act of 1934

      46.       Plaintiff re-incorporates and realleges paragraphs 1-37 as if fully set

forth herein.
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      47.    Rule 10b-5 states: “It shall be unlawful for any person, directly or

indirectly, by the use of any means or instrumentality of interstate commerce or of

the mails, or of any facility of any national securities exchange, (a) to employ any

device . scheme, or artifice to defraud, (b) to make any untrue statement of a

material fact or to omit to state a material fact necessary in order to make the

statements made, not misleading, or (c) to engage in any act, practice, or course of

business which operates or would operate as a fraud or deceit upon any person,

in connection with the purchase or sale of any security.”

      48.    Scam Artist acted at all times with the intent to receive transferred

funds from Plaintiff without the intent to make any NFT purchases for investment

purposes, or personal control.

      49.    Scam Artist intentionally misled Plaintiff regarding Scam Artist’s

credentials and connections in order to lure Plaintiff into a sense of security

regarding the NFT purchase.

      50.    As a result of the fabrications by Scam Artists, Plaintiff made a

transfer of funds to Scam Artist.

      51.    Therefore, Scam Artist’s representations as set forth in this Complaint

are in violation of Rule 10(b)-5 of the Securities Exchange Act of 1934.
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Dated: April 4, 2022                  Respectfully Submitted,

                                       VINCENT TRAPENARD

                                        /s/Junilla Sledziewski
                                        Junilla Sledziewski
                                        Kershner Sledziewski Law, LLC
                                        200 N. LaSalle St., Suite 1550
                                        Chicago, IL 60601
                                        Ph (312) 252-9777
                                        Fla. Bar. No. 072043
                                        junilla@kslawchicago.com

                                        By: /s/ Mason Cole
                                        COLE SADKIN LLC
                                        Mason S. Cole
                                        Dean Tatooles
                                        Vani Vedam
                                        Mark Johnson
                                        1652 W Belmont Ave, Ste 1
                                        Chicago, Illinois 60657
                                        T: (312) 548-8610
                                        F: (312) 372-7076
                                        Firm ID: 49001
                                        mcole@colesadkin.com
                                        Pro Hac Vice Admission Pending
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